Case: 1:17-md-02804-DAP Doc #: 2294-9 Filed: 08/13/19 1 of 6. PageID #: 362353




                      PSJ15 Exh 16
Case: 1:17-md-02804-DAP Doc #: 2294-9 Filed: 08/13/19 2 of 6. PageID #: 362354
Case: 1:17-md-02804-DAP Doc #: 2294-9 Filed: 08/13/19 3 of 6. PageID #: 362355
                  Case: 1:17-md-02804-DAP Doc #: 2294-9 Filed: 08/13/19 4 of 6. PageID #: 362356


                                        SPECIALTY GENERICS
                      Convention and Trade Show Marketing Material Order Form
                                        Updated: 07.10.2015
Ship to:

Address:

City/State/Zip:

Phone #:

                                                                          Unit of         Qty
     Item #         Description
                                                                          Measure      Requested



GEN01314            ADHD Pocketcard Set                                         Ea.       50




GEN02814            2015 Pharmacognosy Calendar                                 Ea.       50




GN00051             Convention Contact Cards                               Pad of 50




GEN02714            Corporate Product Monitoring Cards                          Ea.       50




                                                                                                   04.10.2015 - Per Labeling, multiple ongoing changes to the PI
GEN01914            Dextroamphetamine ER Capsules                               Ea.    Not Avail   will be made, so we are temporarily removing these sell sheets
                                                                                                   from inventory.




                                                                                                   04.10.2015 - Per Labeling, multiple ongoing changes to the PI
GEN02014            Dextroamphetamine Sulfate Tablets USP                       Ea.    Not Avail   will be made, so we are temporarily removing these sell sheets
                                                                                                   from inventory.




GEN01514            Equivalent Dose Conversion Guide                            Ea.       50




GEN00613            Fentanyl Patch sell sheet                                   Ea.       10




                                                                      Page 1
           Case: 1:17-md-02804-DAP Doc #: 2294-9 Filed: 08/13/19 5 of 6. PageID #: 362357




GEN00913     Generic Product Catalogs - Rev 02.2015              Ea.      25




             Hydrocodone Bitartrate
GEN03014                                                         Ea.      10
             and Aceteminophen sell sheet




GEN01414     Hydromorphone HCl ER tablets (EXALGO)               Ea.       5




GEN03315     Improved Label Features                             Ea.      10




AT00114      Methadose/Methadone Sell Sheet                      Ea.    PI Swap




             Methylphenidate ER Tablet
GN11214                                                          Ea.      10
             sell sheet (Concerta)




GEN01717     Methylphenidate Oral Solution sell sheet            Ea.




             Methadone HCl Tablets,
GEN03115     Dispersible Orange Flavored for                     Ea.
             Oral Suspension)




                                                                       PI Swap in
GEN00513     Mixed Salts sell sheet                              Ea.    process
                                                                       07.09.2015




GEN01014     Morphine Oral Solution sell sheets                  Ea.




                                                        Page 2
           Case: 1:17-md-02804-DAP Doc #: 2294-9 Filed: 08/13/19 6 of 6. PageID #: 362358




GEN01114     Morphine Sulfate ER Tablets sell sheet                 Ea.      10




GEN00413     Opioid Addiction Treatment Education Series            Ea.




GEN01814     Oral Transmucosal Fentanyl Citrate                     Ea.




                                                                                     04.10.15 - Pending launch and date of first use of
GN05123      Oxycodone HCl & Oxycodone/APAP sell sheet              Ea.    On Hold   15 mg & 30 mg unit dose strengths - product family image to
                                                                                     be revised




GEN01214     Pain Management Pocketcard Set                         Ea.      50




GEN00713     Unit Dose sell sheet                                   Ea.




GEN01614     Wong-Baker FACES Pain Scales                       Pk of 25     50




             Wong-Baker FACES sell sheet
n/a                                                                 Ea.      5
             (not inventoried - print on demand)




                                                           Page 3
